             Case 21-32351 Document 1744 Filed in TXSB on 11/29/23 Page 1 of 2
                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                         November 29, 2023
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


    In re:                                                   Chapter 11

    LIMETREE BAY SERVICES, LLC., et al.,                     Case No. 21-32351 (CML)

                            Debtors.1                        (Jointly Administered)



      ORDER GRANTING LIQUIDATING TRUSTEE’S THIRD MOTION TO EXTEND
                THE DEADLINE TO FILE CLAIM OBJECTIONS
                          (Related Docket No. 1743)


             Upon the motion (the “Motion”)2 of the Liquidating Trustee in the above-referenced

chapter 11 cases for entry of an order extending the deadline to file objections to claims; and the

Court having jurisdiction to consider the Motion and the relief requested therein being a core

proceeding in accordance with 28 U.S.C. § 157(b)(2) on which the Court may enter a final order

consistent with Article III of the United States Constitution; and venue being proper in this District

under 28 U.S.C. §§ 1408 and 1409; and good and adequate notice of the Motion having been given

under the circumstances and it appearing that no other or further notice need be provided; and it

appearing that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefore,

             IT IS HEREBY ORDERED THAT:




1
   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222).
2
  Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to them in the Motion.

                                                         1
       Case 21-32351 Document 1744 Filed in TXSB on 11/29/23 Page 2 of 2




       1.      The Claims Objection Deadline set forth in the Plan is extended to June 5, 2024,

without prejudice to the Liquidating Trustee or any other party’s right to seek further extension of

the Claims Objection Deadline.

       2.      The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.



Dated: ______________, 2023                   _____________________________
         August 02,
         November 29,2019
                      2023                    Christopher Lopez
                                              United States Bankruptcy Judge




                                                 2
